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                            United States District Court
                                 EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

UNITED STATES OF AMERICA,                         §
                                                  §
               Plaintiff,                         §
                                                  §
v.                                                §     CRIMINAL ACTION NO. 4:11CR182
                                                  §
SAVANNAH D. ROBERSON (5)                          §
                                                  §
               Defendant.                         §


                  MEMORANDUM ADOPTING REPORT AND
           RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE

       Came on for consideration the above-referenced criminal action, the Court having

heretofore referred the request for the revocation of Defendant’s supervised release to the United

States Magistrate Judge for proper consideration.      The Court has received the Report and

Recommendation of the United States Magistrate Judge pursuant to its order. Defendant having

waived allocution before the Court as well as her right to object to the report of the Magistrate

Judge, the Court is of the opinion that the findings and conclusions of the Magistrate Judge are

correct.

       It is therefore, ORDERED that the Report and Recommendation of United States

Magistrate Judge is ADOPTED as the opinion of the Court.

       It is further ORDERED that Defendant’s supervised release is hereby REVOKED.

       It is further ORDERED that Defendant be committed to the custody of the Bureau of

Prisons for a term of six (6) months. Upon release from imprisonment, the Defendant shall be

placed on supervised release for a term of four (4) years. Within 72 hours of release from the

custody of the Bureau of Prison, the Defendant shall report in person to the probation office in
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the district in which the Defendant is released. While on supervised release, the Defendant shall

not commit another federal, state, or local crime, and shall comply with the standard conditions

that have been adopted by the Court. Additionally, the Court finds the special conditions

originally imposed by the Court are still relevant and are reimposed as follows: (1) Defendant

shall provide the probation officer with access to any requested financial information for

purposes of monitoring the defendant’s efforts to maintain lawful employment and financial

activities; (2) Defendant shall participate in a program of testing and treatment for drug abuse,

under the guidance and direction of the U.S. Probation office, until such time as the Defendant is

released from the program by the probation officer. Defendant is to provide proof to the Court

of her completion of her G.E.D.

        The Court recommends that Defendant be housed in the Bureau of Prisons Seagoville

facility, if appropriate.

         . IS SO ORDERED.
        IT
         SIGNED at Beaumont, Texas, this 7th day of September, 2004.
        SIGNED at Beaumont, Texas, this 30th day of December, 2015.




                                          ________________________________________
                                                      MARCIA A. CRONE
                                               UNITED STATES DISTRICT JUDGE




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